       Case 4:04-cr-00035-BRW           Document 659         Filed 02/24/16      Page 1 of 1


                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                    4:04-CR-00035-05-BRW

DARRYL WALKER

                                              ORDER

       Defendant’s Motion for Relief Under Rule 59(e) Motion to Vacate, Set Aside, or Correct

his sentence under 28 U.S.C. § 2255 (Doc. No. 658) is DENIED.

       Defendant argues that the February 9, 2016 Order denying is § 2255 relief is in error

because it failed to consider that his actual innocence claim would toll the statute of limitations.

Defendant’s “actual innocence” claim is that, under Rosemond v. U.S.,1 he did not have the

required state-of-mind to aid and abet the possession of a firearm in a drug trafficking offense

which resulted in the death of another person. However, Rosemond was issued seven years after

Defendant’s conviction, and was not made retroactive to cases on collateral review.2

Furthermore, Plaintiff claim is one for legal innocence under the state-of-mind ruling in

Rosemond, not factual innocence. Even if Rosemond were retroactive, the tolling exception cited

by Defendant would not apply because the “the fundamental miscarriage of justice exception

involves claims of actual innocence, as opposed to legal innocence.”3

       IT IS SO ORDERED this 24th day of February, 2016.


                                                      /s/ Billy Roy Wilson
                                                      UNITED STATES DISTRICT JUDGE


       1
        134 S. Ct. 1240 (2014).
       2
          See Montana v. Cross, No. 14–CV–1019, 2014 WL 5091708, at *3 (S.D. Ill. Oct. 10, 2014)
(collecting cases).
       3
        Narcisse v. Dahm, 9 F.3d 38 (8th Cir. 1993).

                                                  1
